Case 0:14-cv-61381-RNS Document 27 Entered on FLSD Docket 10/22/2014 Page 1 of 1



                            United States District Court
                                      for the
                            Southern District of Florida

  George Longmore, Plaintiff             )
                                         )
  v.                                     )
                                           Civil Action No. 14-61381-Civ-Scola
                                         )
  Memorial Healthcare System,            )
  Defendant                              )


                                 Order Of Dismissal
        The parties have dismissed this case with prejudice pursuant to Federal
  Rule of Civil Procedure 41(a)(1)(A)(ii). (Joint Stip. For Dismissal With Prejudice,
  ECF No. 26). The Court directs the Clerk to close this case. All pending
  motions, if any, are denied as moot.
        Done and ordered in chambers, at Miami, Florida, on October 21, 2014.


                                              ________________________________
                                              Robert N. Scola, Jr.
                                              United States District
